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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN

                                                   :
Julie Smith,                                       :
                                                     Civil Action No.: 1:13-cv-01225
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
GC Services, L.P.; and DOES 1-10, inclusive,       :
                                                     DEMAND FOR JURY TRIAL
                                                   :
                        Defendants.                :
                                                   :
                                                   :

                                COMPLAINT & JURY DEMAND

        For this Complaint, Plaintiff, Julie Smith, by undersigned counsel, states as follows:

                                          JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”), in their illegal efforts to

collect a consumer debt.

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        3.      Plaintiff, Julie Smith (“Plaintiff”), is an adult individual residing in Three Rivers,

Michigan, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

        4.      Defendant GC Services, L.P. (“GC”), is a Texas business entity with an address

of 6330 Gulfton Street, Houston, Texas 77081, operating as a collection agency, and is a “debt

collector” as the term is defined by 15 U.S.C. § 1692a(6).




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       5.      Does 1-10 (the “Collectors”) are individual collectors employed by GC and

whose identities are currently unknown to Plaintiff. One or more of the Collectors may be joined

as parties once their identities are disclosed through discovery.

       6.      GC at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       7.      Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       8.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes, which meets the definition of a “debt” under 15 U.S.C. §

1692a(5).

       9.      The Debt was purchased, assigned or transferred to GC for collection, or GC was

employed by the Creditor to collect the Debt.

       10.     Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. GC Engages in Harassment and Abusive Tactics

       11.     Within the last year, GC placed up to ten (10) calls per day to Plaintiff, without

leaving messages, in an attempt to collect the Debt.

       12.     When Plaintiff called GC, the collector with whom she spoke failed to inform her

that the communication was from debt collector attempting to collect the Debt, and that any

information obtained would be used for that purpose.

       13.     Further, GC refused to provide Plaintiff with information regarding the current

creditor, despite Plaintiff’s request for that information.



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       14.     Because GC would not provide Plaintiff with any information regarding the Debt,

Plaintiff instructed GC to stop calling. GC responded that the calls would not stop until it

collected the Debt.

       15.     Further, GC threatened to garnish Plaintiff’s and Plaintiff’s husband’s wages if

the Debt was not paid.

   C. Plaintiff Suffered Actual Damages

       16.     Plaintiff has suffered and continues to suffer actual damages as a result of

Defendants’ unlawful conduct.

       17.     As a direct consequence of Defendants’ acts, practices and conduct, Plaintiff

suffered and continues to suffer from humiliation, anger, anxiety, emotional distress, fear,

frustration and embarrassment.

                                   COUNT I
                   VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       18.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       19.     Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged in

behavior the natural consequence of which was to harass, oppress, or abuse Plaintiff in

connection with collection of the Debt.

       20.     Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused a

phone to ring repeatedly and engaged Plaintiff in telephone conversations with the intent to

annoy and harass Plaintiff.

       21.     Defendants’ conduct violated 15 U.S.C. § 1692d(6) in that Defendants placed

calls to Plaintiff without disclosing the identity of the debt collection agency.




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       22.     Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants used false,

deceptive and/or misleading representations or means in connection with collection of the Debt.

       23.     Defendants’ conduct violated 15 U.S.C. § 1692e(4) in that Defendants threatened

Plaintiff with garnishment if the Debt was not paid.

       24.     Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants employed

false and deceptive means to collect the Debt.

       25.     Defendants’ conduct violated 15 U.S.C. § 1692e(11) in that Defendants failed to

inform Plaintiff that communications were an attempt to collect the Debt.

       26.     Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used unfair

and unconscionable means to collect the Debt.

       27.     The foregoing acts and omissions of Defendants constitute numerous and multiple

violations of the FDCPA.

       28.     Plaintiff is entitled to damages as a result of Defendants’ violations.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendants:

                  1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

                  2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);

                  3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                      § 1692k(a)(3);

                  4. Punitive damages; and

                  5. Such other and further relief as may be just and proper.

                     TRIAL BY JURY DEMANDED ON ALL COUNTS




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Dated: November 7, 2013

                                   Respectfully submitted,

                                   By: /s/ Sergei Lemberg, Esq.
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